          Case 22-30682 Document 185 Filed in TXSB on 07/19/22 Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                  §        Case No.: 22-30682
                                                        §
BRAZOS SANDY CREEK ELECTRIC                             §
COOPERATIVE, INC.,                                      §        Chapter 7
                                                        §
                 Debtor.                                §

                           NOTICE OF SALE, BIDDING PROCEDURES,
                               AUCTION, AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:1

        Janet S. Northrup, not individually, but as the chapter 7 trustee (the “Trustee”) for the
bankruptcy estate of Brazos Sandy Creek Electric Cooperative, Inc. (the “Debtor”) in the above-
captioned chapter 7 case (this “Case”) filed with the United States Bankruptcy Court for the
Southern District of Texas (the “Court”) a motion [Docket No. 129] (the “Motion”) for the entry
of an Order, pursuant to 11 U.S.C. §§ 363 and 365 and Fed. R. Bankr. P. 2002, 6004, 6006, 9007,
9008, and 9014: (i) approving the bidding and sale procedures for the sale of all or substantially
all of the Debtor’s assets (the “Bidding Procedures”); (ii) approving the procedures for the
assumption and assignment of executory contracts in connection with such sale (the “Assumption
and Assignment Procedures”); (iii) scheduling an auction for and hearing on the approval of such
sale and setting certain related dates and deadlines as set forth herein and summarized in the sale
schedule (the “Sale Schedule”); (iv) authorizing the Trustee to conduct a sale (the “Sale”) of all or
substantially all property of the estate (the “Assets”) according to the Bidding Procedures and
assume and assign certain executory contracts and unexpired leases (the “Proposed Assumed
Contracts”) according to the Assumption and Assignment Procedures; (v) approving the form and
manner of notice of the same, including certain form notices (the “Notices”); and (vi) granting
certain related relief.

       On July 19, 2022, the Court entered an order [Docket No. 184] (the “Bidding Procedures
Order”) granting the relief requested in the Motion.

The Sale

       The Trustee is seeking to sell substantially all of the Assets, including, among other things,
the TIC Interest in the Energy Station, excluding cash.

        A party may submit a bid for all of the Assets in accordance with the terms and conditions
of the Bidding Procedures.


1
    All capitalized terms not defined herein shall have the meanings ascribed to them in the Bidding Procedures or
    the Motion, as applicable.


3097202
          Case 22-30682 Document 185 Filed in TXSB on 07/19/22 Page 2 of 4




IMPORTANT DATES AND DEADLINES

       Auction. An Auction for the Assets has been scheduled for September 12, 2022, at 10:00
a.m. (prevailing Central Time) and, if necessary, will be conducted at the offices of Hughes
Watters Askanase LLP. The Trustee reserves the right adjourn or continue the Auction to a later
date.

         Global Objection Deadline. Objections to the proposed Sale, including, without limitation,
objections to the assumption and assignment of executory contracts or unexpired leases in
connection with the Sale, must be (i) filed in accordance with the Bidding Procedures Order,
(ii) filed with the Court, and (iii) served on the Objection Notice Parties (as identified and defined
in the Bidding Procedures) so as to be received no later than September 23, 2022, at 5:00 p.m.
(prevailing Central Time).

       Sale Hearing. The Sale Hearing shall be held before the Honorable David R. Jones, United
States Bankruptcy Judge, at the Court on October 4, 2022, at 2:30 p.m. (prevailing Central
Time).

Additional Information

       Any party interested in submitting a bid for the Assets should contact the Trustee’s
advisors, RPA Asset Management Services LLC.

Reservation of Rights

        The Trustee reserves the right to, in her reasonable business judgment, in a manner
consistent with her fiduciary duties and applicable law, and in consultation with the Consultation
Parties, modify the Bidding Procedures; waive terms and conditions set forth therein; extend the
deadlines set forth therein; announce at any Auction held modified or additional procedures for
conducting the Auction; and provide reasonable accommodations to Bidders with respect to such
terms, conditions, and deadlines of the bidding and auction process, to promote further Bids by
such Bidder. Nothing shall obligate the Trustee to consummate or pursue any transaction
with respect to any Asset with any Bidder.




3097202
          Case 22-30682 Document 185 Filed in TXSB on 07/19/22 Page 3 of 4




     THE FAILURE OF ANY PERSON OR ENTITY TO FILE AND SERVE AN
OBJECTION IN ACCORDANCE WITH THE BIDDING PROCEDURES ORDER BY
THE APPLICABLE GLOBAL OBJECTION DEADLINE SHALL FOREVER BAR SUCH
PERSON OR ENTITY FROM ASSERTING ANY OBJECTION TO THE MOTION, SALE
ORDER, PROPOSED SALE TRANSACTION, ANY OTHER ASPECT OF THE SALE
PROCESS, OR ANY ASSET PURCHASE AGREEMENT EXECUTED BY THE
TRUSTEE AND SUCCESSFUL BIDDER (OR BACK-UP BIDDER OR ANY OTHER
BIDDER) AT THE AUCTION.

Dated: July 19, 2022

                                       /s/ Janet S. Northrup , Chapter 7 Trustee
                                       TotalEnergies Tower
                                       1201 Louisiana, 28th Floor
                                       Houston, Texas 77002
                                       Telephone: (713) 759-0818
                                       Facsimile: (713) 759-6834




3097202
         Case 22-30682 Document 185 Filed in TXSB on 07/19/22 Page 4 of 4




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                            §       Case No.: 22-30682
                                                  §
BRAZOS SANDY CREEK ELECTRIC                       §
COOPERATIVE, INC.,                                §       Chapter 7
                                                  §
                Debtor.                           §

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the Notice of Sale Bidding
Procedures, and Sale Hearing was served on the following parties as indicated:

         (i)    all parties receiving ECF notice in this case on July 19, 2022; and
         (ii)   all parties listed on the attached Master Service List as indicated on July 19, 2022.

                                       Respectfully submitted,

                                       HUGHES, WATTERS & ASKANASE, LLP

                                   By: /s/ Heather Heath McIntyre
                                      Wayne Kitchens      TBN 11541110
                                      wkitchens@hwallp.com
                                      Heather McIntyre TBN 24041076
                                      hmcintyre@hwallp.com
                                      Total Plaza
                                      1201 Louisiana, 28th Floor
                                      Houston, Texas 77002
                                      (713) 759-0818 Telephone
                                      (713) 759-6834 Facsimile

                                       COUNSEL FOR JANET NORTHRUP,
                                       CHAPTER 7 TRUSTEE




3097021:BSCREEK-0002
